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     Attorneys of Record for Plaintiff,
 6   Bryan Williams
 7
                            UNITED STATES DISTRICT COURT
 8

 9
                           CENTRAL DISTRICT OF CALIFORNIA

10
     Bryan Williams,                                  Case No. 8:20-cv-185
11

12                    Plaintiff,                      COMPLAINT
13
                      v.
14

15
     Tracey Elizabeth Fruhling; Fredrick Paul
16   Fruhling II; Cravens Dental and Does 1-10,
17   inclusive,
18

19
                      Defendants.

20
           Plaintiff, Bryan Williams, hereby complains and alleges as follows:
21

22
                                   NATURE OF THE ACTION
23

24
                  1. This is an action seeking to remedy unlawful discrimination by
25   the Defendants against the Plaintiff in the Defendants’ places of public
26   accommodation in violation of the Americans with Disabilities Act [42 U.S.C. §
27

28                                          -1-
                                          COMPLAINT
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 1
     12101, et seq.] (the “ADA”) and the Unruh Civil Rights Act [California Civil Code
 2   § 51, et seq.] (the “Unruh Act”).
 3

 4                                         PARTIES
 5                2. Plaintiff, Bryan Williams, is paraplegic, requires the use of a
 6   wheelchair for mobility purposes, and is therefore a “person with a disability”
 7
     within the meaning of the ADA and Cal. Government Code § 12926.
 8
                  3. The Defendants (defined below) discriminated against
 9
     Plaintiff in the full and equal enjoyment of the goods, services, facilities,
10
     privileges, advantages, or accommodations on the basis of Plaintiff’s disability at
11
     the Subject Property (defined below) in violation of the ADA [42 U.S.C. §§
12
     12182(a), 12182(b)(2)(A)(iv) and 12182(b)(2)(A)(v)].
13

14
                  4. The Defendant’s failure to make reasonable modifications in

15   policies, practices, or procedures when such modifications are necessary to afford
16   goods, services, facilities, privileges, advantages, or accommodations to
17   individuals with disabilities prevented Plaintiff from enjoying fair and equal access
18   to the Subject Property (defined below) in violation of the ADA [42 U.S.C. §
19   12182(b)(2)(A)(ii)].
20                5. Defendant, Tracey Elizabeth Fruhling, owns, operates, or leases
21
     real property located at 1603 Cravens Ave., Torrance, CA 90501, also known as
22
     Orange County Assessor’s Parcel No. 7355-023-001 (the “Subject Property”).
23
                  6. Defendant, Fredrick Paul Fruhling II, owns, operates, or leases
24
     real property located at the “Subject Property.”
25
                  7. Defendant, Cravens Dental, owns, operates, or leases real
26
     property located at the “Subject Property.”
27

28                                            -2-
                                            COMPLAINT
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 1
                   8. The Subject Property is a commercial facility open to the general
 2   public, is a public accommodation, and is a business establishment insofar as
 3   goods and/or services are made available to the general public thereat. Defendant
 4   Does 1 through 10, inclusive, are sued herein under fictitious names. Their true
 5   names and capacities are unknown to the Plaintiff. When their true names and
 6   capacities are ascertained, Plaintiff will amend this complaint by inserting their
 7
     true names and capacities herein. Plaintiff is informed and believes and thereon
 8
     alleges that each of the fictitiously named Defendants are responsible in some
 9
     manner for the occurrences herein alleged, and that the harm to Plaintiff herein
10
     alleged were proximately caused by those Defendants.
11

12
                                JURISDICTION AND VENUE
13

14
                   9.   This Court has jurisdiction over the subject matter of this action

15   pursuant 28 U.S.C. § 1331 and 28 U.S.C. §§ 1343(a)(3) and 1343(a)(4) for
16   violations of the ADA.
17                 10. This Court has supplemental jurisdiction over the state law
18   claims alleged herein under the Unruh Act because the state law claim is an
19   attendant and related cause of action that arises from the same nucleus of operative
20   facts and arising out of the same transaction or occurrence as the federal law
21
     claims set forth herein.
22
                   11. Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)
23
     based on the fact that the real property that is the subject of this action is located in
24
     this district and the Plaintiff’s causes of action arose in this district.
25

26

27

28                                             -3-
                                             COMPLAINT
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 1

 2                               STATEMENT OF FACTS
 3                12. Parking spaces, accessible aisles, paths of travel, signage,
 4   doorways, service counters, customer areas and goods/services are among the
 5   facilities, privileges and advantages offered by the Defendants to patrons of the
 6   Subject Property.
 7
                  13.    The Subject Property does not comply with the minimum
 8
     requirements of the ADA and is therefore not equally accessible to Plaintiff or
 9
     similarly situated persons with mobility disabilities.
10
                  14.    In December, 2019 and continuously from that time to the
11
     present, and currently, the Subject Property has not been in compliance with the
12
     ADA (the “Barriers”):
13

14
                         A.    The Subject Property lacks the minimum required

15   number of ADA compliant accessible parking spaces.
16                       B.    The designated “accessible” parking spaces at the Subject
17   Property do not provide accessible parking signage as required by the ADA.
18   Among other things, they fail to provide tow-away signage and “Minimum Fine
19   $250” signage as required by the ADA and state law to be posted near the
20   designated accessible parking space(s).
21
                         C.    The designated “accessible” parking spaces at the Subject
22
     Property do not provide the universal symbol of accessibility.
23
                         D.    There is no twelve-inch high “NO PARKING” lettering
24
     on the blue-striped parking access aisle(s) serving the Subject Property.
25
                         E.    There was no designated “van accessible” parking space
26
     with a corresponding 96” access aisle opposite the driver’s side when the vehicle is
27

28                                           -4-
                                           COMPLAINT
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 1
     going forward into the parking space and no sign or additional language stating
 2   “Van Accessible” below the symbol of accessibility located in a manner that is not
 3   obstructed.
 4                 15.   Plaintiff personally encountered one or more of the Barriers
 5   at the Subject Property in December, 2019.
 6                 16.   From December, 2019 to the present, the Plaintiff has been
 7
     deterred from the Subject Property because of his knowledge of the existence of
 8
     Barriers.
 9
                   17.   The existence of Barriers, the implementation of discriminatory
10
     policies, practices and procedures, and other ADA violations at the Subject
11
     Property caused Plaintiff difficulty, discomfort or embarrassment or reasonably
12
     dissuaded or deterred Plaintiff from accessing the Subject Property on particular
13

14
     occasions between December, 2019 and the present.

15                 18.   Plaintiff would like to return and patronize the Subject Property
16   and use the business establishments thereat and intends to do so in the near future
17   but will be deterred from doing so until all ADA violations are remediated.
18                 19.   On information and belief, the remediation of violations
19   identified hereinabove, to be identified by the Defendants in discovery, and to be
20   discovered by Plaintiff’s experts are all readily achievable in that the removal of
21
     them by the Defendants is and has been easily accomplishable without much
22
     difficulty or expense.
23
                   20.   Defendants violated the ADA by failing to remove all mobility-
24
     related architectural barriers at the Subject Property. On information and belief,
25
     Plaintiff alleges that the failure to remove barriers has been knowing, willful and
26
     intentional because the barriers described herein are clearly visible and tend to be
27

28                                           -5-
                                           COMPLAINT
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 1
     obvious even to a casual observer and because the Defendants operate the Subject
 2   Property and have control over conditions thereat and as such they have, and have
 3   had, the means and ability to make the necessary remediation of access barriers if
 4   they had ever so intended.
 5                21.    On information and belief, access barriers at the Subject
 6   Property are being consciously ignored by the Defendants; the Defendants have
 7
     knowingly disregarded the ongoing duty to remove the Barriers in compliance with
 8
     the ADA. Plaintiff further alleges on information and belief that there are other
 9
     ADA violations and unlawful architectural barriers at the Subject Property that
10
     relate to Plaintiff’s mobility disability that will be determined in discovery, the
11
     remediation of which is required under the ADA.
12
                  22.    Plaintiff hereby seeks to remediate and remove all barriers
13

14
     related to his disability, whether presently known or unknown. As the court held

15   in Doran v. 7-11. Inc., 506 F.3d 1191 (9th Cir. 2008):
16         “[W]here a disabled person has Article III standing to bring a claim for
           injunctive relief under the ADA because of at least one alleged statutory
17
           violation of which he or she has knowledge and which deters access to, or
18         full use and enjoyment of, a place of public accommodation, he or she may
19
           conduct discovery to determine what, if any, other barriers affecting his or
           her disability existed at the time he or she brought the claim. This list of
20         barriers would then in total constitute the factual underpinnings of a single
21         legal injury, namely, the failure to remove architectural barriers in violation
           of the ADA, which failure actually harmed the disabled person by deterring
22
           that disabled person from visiting a facility that otherwise would have been
23         visited at a definite future time, yielding Article III standing.”
24
                  23.    Even if strictly compliant barrier removal were determined to
25
     be structurally or otherwise impracticable, there are many alternative methods of
26
     providing accommodations that are readily apparent and that could provide a
27

28                                            -6-
                                            COMPLAINT
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 1
     greater degree of accessibility to the Plaintiff and similarly situated persons but for
 2   the Defendants’ discriminatory policies, practices and procedures and Defendants’
 3   conscious indifference to their legal obligations and to the rights of persons with
 4   mobility disabilities. Defendants’ failure to implement reasonable available
 5   alternative methods of providing access violates the ADA [42 U.S.C. §
 6   12182(b)(2)(A)(v)].
 7
                  24.    The violations and references to code sections herein are not
 8
     all-inclusive. Plaintiff will amend this complaint to provide a complete description
 9
     of the full scope of ADA violations after conducting a comprehensive expert site
10
     inspection and other discovery. For the purposes of this Complaint, Plaintiff
11
     asserts that the barriers alleged herein violate one or more of the ADA’s
12
     implementing regulations. The Defendants have maintained and continue to
13

14
     maintain discriminatory policies, procedures and practices that disregard their

15   obligations under the ADA by allocating resources for physical improvements to
16   the Subject Property that were did not provide legally required accessibility
17   improvements, by failing to conduct ADA self-inspections or create ADA
18   compliance plans regarding the Subject Property, by causing alterations to be made
19   to the Subject Property in disregard of ADA requirements, and for failing and
20   refusing to make necessary accommodations for persons with mobility disabilities
21
     at the Subject Property. Plaintiff seeks a declaration that the Defendants’ disability
22
     rights compliance policies, procedures and practices are discriminatory and violate
23
     the ADA.
24

25

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27

28                                           -7-
                                           COMPLAINT
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 1
                               FIRST CAUSE OF ACTION
                              Discrimination Based on Disability
 2                               [42 U.S.C. §§ 12101, et seq.]
 3                            By Plaintiff against all Defendants
 4

 5
                  25.    Plaintiff re-alleges and incorporates by reference as though

 6   fully set forth herein the allegations contained in all prior paragraphs of this
 7   complaint.
 8                26.    The ADA obligates owners, operators, lessees and lessors of
 9   public accommodations to ensure that the privileges, advantages, accommodations,
10   facilities, goods and services are offered fully and equally to persons with
11   disabilities, including the Plaintiff and others similarly situated [42 U.S.C. §
12
     12182(a)].
13
                  27.    Discrimination is defined in the ADA, inter alia, as follows:
14
                         A.     A failure to remove architectural barriers where such
15
     removal is readily achievable [42 U.S.C. § 12182(b)(2)(A)(iv)]. Architectural
16
     barriers are identified and described in the Americans with Disabilities Act
17
     Accessibility Guidelines (the “ADAAG”) [28 C.F.R. Part 36, Appendix “D”].
18

19
                         B.     A failure to make alterations in such a manner that, to the
20   maximum extent feasible, the altered portions of the facility are readily accessible
21   to and usable by individuals with disabilities, including individuals who use
22   wheelchairs or to ensure that, to the maximum extent feasible, the path of travel to
23   the altered area and the bathrooms, telephones, and drinking fountains serving the
24   altered area, are readily accessible to and usable by individuals with disabilities [42
25
     U.S.C. § 12183(a)(2)].
26
                         C.     Where an entity can demonstrate that the removal of a
27
     barrier is not readily achievable, a failure to make such goods, services, facilities,
28                                            -8-
                                            COMPLAINT
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 1
     privileges, advantages, or accommodations available through alternative methods
 2   if such methods are readily achievable [42 U.S.C. § 12182(b)(2)(A)(v)].
 3                      D.    A failure to make reasonable modifications in
 4   policies, practices, or procedures, when such modifications are necessary to afford
 5   such goods, services, facilities, privileges, advantages, or accommodations to
 6   individuals with disabilities, unless the entity can demonstrate that making such
 7
     modifications would fundamentally alter the nature of such goods, services,
 8
     facilities, privileges, advantages, or accommodations [42 U.S.C. §
 9
     12182(b)(2)(A)(ii)].
10
                 28.    The ADA, the ADAAG’s 1991 Standards (the “1991
11
     Standards”) and 2010 Standards (the “2010 Standards”), and the California
12
     Building Code (the “CBC”) contain minimum standards that constitute legal
13

14
     requirements regarding wheelchair accessibility at places of public

15   accommodation:
16                      A.    If parking spaces are provided for self-parking by
17   employees or visitors, or both, then the subject property must provide at least the
18   minimum required number of accessible parking spaces. Accessible parking
19   spaces must be marked to define their width and must have an adjacent ADA
20   compliant access aisle. Accessible parking spaces must be at least 96 inches wide
21
     and van parking spaces must be at least 132 inches wide except that van parking
22
     spaces can be 96 inches wide where the access aisle is not less than 96 inches
23
     wide [1991 Standards § 4.1.2(5); 2010 Standards § 208 and 502.2]. Here, the
24
     Subject Property does not comply with the ADA.
25

26

27

28                                          -9-
                                          COMPLAINT
29

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 1
                         B.    Each parking space reserved for persons with disabilities
 2    shall be identified by a reflectorized sign permanently posted immediately
 3    adjacent to and visible from each stall or space, consisting of the International
 4    Symbol of Accessibility in white on a dark blue background. The sign shall not be
 5    smaller than 70 square inches (4516 mm2) in area and, when in a path of travel,
 6    shall be posted at a minimum height of 80 inches (2032 mm) from the bottom of
 7
      the sign to the parking space finished grade. Signs may also be centered on the
 8
      wall at the interior end of the parking space. An additional sign or additional
 9
      language below the symbol of accessibility shall state "Minimum Fine $250"
10
      [2010 Standards § 502.6; CBC § 1129B.4].
11
                         C.    Signs identifying accessible parking spaces must include
12
      the International Symbol of Accessibility [2010 Standards §§ 502.6].
13

14
                         D.    To properly and effectively reserve a parking space for

15    persons with disabilities, the surface of the access aisle must have a blue
16    border; the words “NO PARKING” in letters at least a foot high must be
17    painted on the access aisle [CBC § 1129B.3].
18                       E.    One in every eight accessible spaces, but not less than
19    one, must be served by a loading and unloading access aisle 96 inches (2438 mm)
20    wide minimum placed on the side opposite the driver’s side when the vehicle is
21
      going forward into the parking space and shall be designated van accessible. Van
22
      accessible spaces must have an additional sign or additional language stating "Van
23
      Accessible" below the symbol of accessibility. Signs identifying accessible
24
      parking spaces must be located so they cannot be obscured by a vehicle parked in
25
      the space [1991 Standards § 4.6; 2010 Standards §§ 502; CBC §§ 1129B.3
26
      and B4].
27

28                                           -10-
                                           COMPLAINT
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 1
                  29.   The Defendants have failed to comply with minimum
 2    ADA standards and have discriminated against Plaintiff on the basis of
 3    Plaintiff’s mobility disability. Each of the barriers and accessibility
 4    violations set forth above is readily achievable to remove, is the result of an
 5    alteration that was completed without meeting minimum ADA standards,
 6    or could be easily remediated by implementation of one or more available
 7
      alternative accommodations. Accordingly, the Defendants have violated
 8
      the ADA.
 9
                  30.   The Defendants are obligated to maintain in operable
10
      working condition those features of the Subject Property’s facilities and
11
      equipment that are required to be readily accessible to and usable by
12
      Plaintiff and similarly situated persons with disabilities [28 C.F.R. §
13

14
      36.211(a)]. The Defendants failure to ensure that accessible facilities at the

15    Subject Property were available and ready to be used by the Plaintiff
16    violates the ADA.
17                31.   The Defendants have a duty to remove architectural
18    barriers where readily achievable, to make alterations that are consistent
19    with minimum ADA standards and to provide alternative accommodations
20    where necessary to provide wheelchair access. The Defendants benign
21
      neglect of these duties, together with their general apathy and indifference
22
      towards persons with disabilities, violates the ADA.
23
                  32.   The Defendants have an obligation to maintain policies,
24
      practices and procedures that do not discriminate against the Plaintiff and
25
      similarly situated persons with mobility disabilities on the basis of their
26
      disabilities. The Defendants have maintained and continue to maintain a policy
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28                                         -11-
                                         COMPLAINT
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 1
      of disregarding their obligations under the ADA, of allocating resources for
 2    improvements insufficient to satisfy legal requirements regarding accessibility
 3    improvements, of failing to conduct ADA self-inspections or create ADA
 4    compliance plans, of causing alterations to be made to the Subject Property in
 5    disregard of ADA requirements, and of failing and refusing to make necessary
 6    accommodations for persons with mobility disabilities at the Subject Property, in
 7
      violation of the ADA.
 8
                   33.    The Defendants wrongful conduct is continuing in that
 9
      Defendants continue to deny full, fair and equal access to their business
10
      establishment and full, fair and equal accommodations, advantages,
11
      facilities, privileges and services to Plaintiff as a disabled person due to
12
      Plaintiff’s disability. The foregoing conduct constitutes unlawful
13

14
      discrimination against the Plaintiff and other mobility disabled persons

15    who, like the Plaintiff, will benefit from an order that the Defendants
16    remove barriers and improve access by complying with minimum ADA
17    standards.
18

19                             SECOND CAUSE OF ACTION
20                             Violations of the Unruh Rights Act
                                [Cal. Civil Code § 51, et seq.]
21
                               By Plaintiff against all Defendants
22

23                 34.     Plaintiff re-alleges and incorporates by reference as though
24    fully set forth herein the allegations contained in all prior paragraphs of this
25
      complaint.
26
                   35.    The foregoing violations of the ADA constitute per se
27
      violations of the Unruh Act [Cal. Civil Code § 51(f)].
28                                             -12-
                                             COMPLAINT
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 1
                  36.   Plaintiff personally encountered Barriers at the Subject
 2    Property and has experienced, difficulty, discomfort or embarrassment or
 3    has been reasonably dissuaded or deterred from accessing the Subject
 4    Property on particular occasions due to ADA violations which would have
 5    actually denied Plaintiff full and equal access if he had attempted to access
 6    the Subject Property on those particular occasions.
 7
                  37.   Due to the unlawful discrimination set forth above,
 8
      Plaintiff has been denied the right and entitlement to full and equal
 9
      accommodations, advantages, facilities, privileges or services by the
10
      Defendants at the Subject Property in violation of the Unruh Act.
11

12
                                PRAYER FOR RELIEF
13

14
            Plaintiff prays to this Court for injunctive, declaratory and all other

15    appropriate relief under the ADA and the Unruh Act, including but not
16    limited to reasonable attorney’s fees, litigation expenses and costs of suit
17    pursuant to 42 U.S.C. § 12205 and Cal. Civil Code § 52.
18          Note: Plaintiff is not invoking Cal. Civil Code § 55 and does
19
            not seek injunctive relief under the Disabled Persons Act at all.
20    Respectfully submitted,
21
      Dated: January 29, 2020       LAW OFFICES OF ROSS CORNELL, APC
22

23

24                                  By: /s/ Ross Cornell
                                        Ross Cornell, Esq.,
25
                                        Attorneys for Plaintiff,
26                                      Bryan Williams
27

28                                         -13-
                                         COMPLAINT
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